Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 1 of 19 PageID 1921




                               UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                           ORLANDO DIVISION

     WYNDHAM VACATION OWNERSHIP,
     INC., WYNDHAM VACATION
     RESORTS, INC., WYNDHAM RESORT
     DEVELOPMENT CORPORATION,
     SHELL VACATIONS, LLC, SVC-WEST,
     LLC, SVC-AMERICANA, LLC and SVC-
     HAWAII, LLC,

                             Plaintiffs,

     v.                                                         Case No: 6:18-cv-2121-Orl-37LRH

     THE MONTGOMERY LAW FIRM, LLC,
     MONTGOMERY & NEWCOMB, LLC,
     M. SCOTT MONTGOMERY, ESQ., W.
     TODD NEWCOMB, ESQ., CLS, INC.,
     ATLAS VACATION REMEDIES, LLC,
     PRINCIPAL TRANSFER GROUP, LLC,
     DONNELLY SNELLEN, JASON LEVI
     HEMINGWAY, MUTUAL RELEASE
     CORPORATION, DAN CHUDY,
     MATTHEW TUCKER and CATALYST
     CONSULTING FIRM LLC,

                             Defendants.


                                                   ORDER
                                       (And Direction to Clerk of Court)

               This cause came on for consideration without oral argument on the following motions filed

     herein:

               MOTION:       PLAINTIFFS’ THIRD MOTION TO COMPEL AND FOR
                             SANCTIONS (Doc. No. 96)

               FILED:        April 5, 2019

               THEREON it is ORDERED that the motion is GRANTED in part and
               DENIED in part.
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 2 of 19 PageID 1922




              MOTION:       DEFENDANT PTG’S MOTION TO SUBMIT LIVE
                            TESTIMONY REGARDING WYNDHAM’S THIRD
                            MOTION TO COMPEL (Doc. No. 122)

              FILED:        June 6, 2019

              THEREON it is ORDERED that the motion is DENIED.

     I.       BACKGROUND.

              On December 10, 2018, Plaintiffs filed a complaint against Defendants in the above-

     captioned case. Doc. No. 1. Plaintiffs are in the business of selling timeshares and allege that

     collectively, Defendants participate in an industry known as “timeshare exit.” Id. ¶¶ 2–8, 58.

     Plaintiffs allege various counts against different Defendants, including: violations of the Lanham

     Act for false and misleading advertising (Counts I through IV), tortious interference with contractual

     relations (Counts V through VII), civil conspiracy (Count VIII), and violations of Florida’s

     Deceptive and Unfair Trade Practices Act (Count IX).          Id. at 46–70.    Defendants Principal

     Transfer Group, LLC (“PTG”), Donnelly Snellen, CLS, Inc., Atlas Vacation Remedies, LLC

     (“Atlas”), Jason Levi Hemingway, W. Todd Newcomb, Esq., Montgomery & Newcomb, LLC

     (“M&N”), the Montgomery Law Firm, LLC, and M. Scott Montgomery, Esq., have all moved to

     dismiss the complaint. Doc. Nos. 31, 51, 56, 67. Those matters remaining pending before the

     Court.

              On March 5, 2019, Plaintiffs filed an Emergency Motion to Compel Discovery. Doc. No.

     59. Plaintiffs sought to compel Defendants Snellen, Hemingway, PTG, CLS, and Atlas to provide




                                                      -2-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 3 of 19 PageID 1923




     complete responses to certain requests for production. Id. at 7–8.1 The document requests at issue

     as to each of these Defendants provided:

             Documents sufficient to identify the location of the timeshare property of any present
             timeshare client of [the defendant] and any timeshare client that [the defendant]
             provided timeshare services to at any point in the last two years.

             Copies of files for any present timeshare clients of [the defendant] and any clients
             that [the defendant] provided timeshare services to at any point in the last two years.

     As to only PTG, CLS, and Atlas, Plaintiffs also sought to compel:

             A list of all of [the defendant’s] customers for the last 2 years, including their name
             and address.

     See Doc. No. 59, at 7–8; Doc. No. 87, at 6–7.          Defendants, with the exception of Atlas,2 each

     objected on two grounds: (1) production of “any privileged documents”; and (2) production of “any

     non-Florida documents.” Id.

             As to the privilege objection, the Court found Defendants’ blanket objection to producing

     “any privileged documents” to be insufficient. Doc. No. 87, at 7. Accordingly, the objection

     based on privilege was overruled. Id. The Court ordered that, if Defendants continued to assert

     that the documents at issue were privileged, they must file a privilege log documenting in sufficient

     detail the validity of that assertion. Id. at 7–8.

             Regarding the objection to producing “any non-Florida documents,” Plaintiffs had failed to

     specifically address Defendants’ objection. Id. at 8. Thus, Plaintiffs had not “demonstrated how

     document production of non-Florida timeshare client files, the location of non-Florida timeshare

     clients, or a list of Defendants’ non-Florida timeshare customers are relevant to this case.” Id.



             1
              For purposes of this Order, Snellen, Hemingway, PTG, CLS, and Atlas are collectively referred to
     as “Defendants” throughout.
             2
              Plaintiffs acknowledged that defense counsel ultimately responded that Atlas had no documents
     responsive to the requests at issue. See Doc. No. 59, at 4; Doc. No. 87, at 7.


                                                          -3-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 4 of 19 PageID 1924




     Accordingly, the Court found Defendants’ objection to producing “non-Florida documents” well

     taken. Id.     The remainder of Defendants’ objections were overruled. Id. at 8–10.

             Based on the foregoing, the Court granted in part and denied in part the Emergency Motion

     to Compel. Id. at 11 (referred to herein as the “Discovery Order”). The Court ordered Defendants,

     on or before March 28, 2019, to “produce for inspection and copying the remaining documents

     responsive to [the document requests at issue], with the exception of any non-Florida documents.”

     Id. To the extent that Defendants still wished to rely on a privilege objection, the Court ordered

     Defendants to submit a privilege log to support each objection, containing evidence and legal

     authority, on or before March 28, 2019. Id. To date, Defendants have not filed a privilege log in

     this case.

             On April 5, 2019, Plaintiffs filed their Third3 Motion to Compel and for Sanctions, Doc. No.

     96, in which they contend that Defendants have failed to comply with the Court’s Discovery Order.

     The resolution of this motion requires consideration of (1) Plaintiffs’ Third Motion to Compel and

     for Sanctions (Doc. No. 96);4 (2) Defendants’ Brief in Opposition to Wyndham’s Third Motion to

     Compel (Doc. No. 116); (3) Plaintiffs’ Reply Brief in Support of Third Motion to Compel and for

     Sanctions (Doc. No. 121); (4) Defendant PTG’s Motion to Submit Live Testimony Regarding

     Wyndham’s Third Motion to Compel (Doc. No. 122); (5) Plaintiffs’ Response in Opposition to



             3
                Plaintiffs had filed a second motion to compel directed at Defendants’ non-compliance with the
     Discovery Order. Doc. No. 93. That motion was denied as moot because Plaintiffs filed the instant motion
     as a substitute for the second motion to compel to include allegations regarding subsequent events that
     Plaintiffs alleged had occurred. Doc. No. 96, at 2 n.1; Doc. No. 98.
             4
               After Plaintiffs filed their Third Motion to Compel and for Sanctions (Doc. No. 96), the Court
     granted Plaintiffs’ unopposed motion for leave to file under seal an unredacted version of the motion to
     compel, which remains pending as a motion, see Doc. No. 110. Because resolution of the motion to compel
     does not require explicit reference to the contents of the sealed material, resolution will occur on the first-
     filed motion on the docket, see Doc. No. 96. Accordingly, the Clerk of Court is DIRECTED to terminate
     the pending motion filed under seal at Doc. No. 110.


                                                          -4-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 5 of 19 PageID 1925




     Defendant PTG’s Motion to Submit Live Testimony Regarding Wyndham’s Third Motion to

     Compel (Doc. No. 126); (6) and all accompanying exhibits to each filing.

            The motions were referred to the undersigned, and the matter is ripe for review.

     II.    ANALYSIS.

            A.      Plaintiffs’ Third Motion to Compel and for Sanctions.

            In the motion, Plaintiffs contend that: (1) Defendants failed to comply with the Discovery

     Order because no documents and no privilege log were produced on or before March 28, 2019; (2)

     the belatedly produced documents were insufficient because the list of customers produced by

     Defendants does not include names and addresses; (3) the list of customers produced by Defendants

     include clients who they bill in Florida, but does not include documents sufficient to identify

     Florida-located timeshare interests owned by Defendants’ clients; (3) Defendants only produced

     some customer files and such production was incomplete; and (4) sanctions are appropriate for

     Defendants’ flagrant refusal to comply with the Discovery Order. Doc. No. 96. Each of these

     contentions, and the issues raised by Defendants’ responses thereto, will be addressed in turn.

                    1.     Failure to Timely Comply with the Court’s Order.

            Plaintiffs first contend that Defendants failed to timely comply with the Court’s Discovery

     Order (Doc. No. 87), which required Defendants to produce the required responsive documents on

     or before March 28, 2019. Doc. No. 96, at 3–4. By March 28, 2019, Defendants had not produced

     any responsive documents in compliance with the Court’s Order. Id. at 3. Thereafter, counsel for

     Plaintiffs contacted counsel for Defendants on April 3, 2019 to inquire about the document

     production. Id. at 3. Counsel for Defendants assured that compliance with the Discovery Order

     would take place by the end of the day. Id. When that did not happen, counsel for Plaintiffs again

     conferred with Defendants’ counsel on the morning of April 4, 2019, and Defendants’ counsel this



                                                     -5-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 6 of 19 PageID 1926




     time promised to comply by 10:00 a.m. that same morning. Id. at 3–4. Unfortunately, Defendants

     again failed to meet this new deadline and, as a result, Plaintiffs moved to compel at 10:28 a.m. on

     April 4, 2019. Id. at 4; see Doc. No. 93.

             Minutes after Plaintiffs filed the motion, counsel for Defendants sent counsel for Plaintiffs

     an email with attachments, which included 3 PDF files consisting of 5 pages. Doc. No. 96, at 4–5,

     see Doc. Nos. 96-3; 116-7; 116-8; 116-9. Plaintiffs notified Defendants that the production was

     deficient. Doc. No. 96, at 5; see Doc. No. 96-5. Later that night, counsel for Defendants sent

     counsel for Plaintiffs two emails providing a link to a DropBox account where certain files had been

     uploaded for production. Doc. No. 96, at 5; see Doc. No. 96-8. Plaintiffs contend that said

     production is still insufficient. Doc. No. 96, at 5.

             In their response, Defendants do not dispute that they failed to produce any files prior to

     April 4, 2019. Doc. No. 116, at 11.5 Defendants make a passing remark that “Wyndham agreed

     that the documents could be produced on April 4th, and all documents were produced on April 4th.”

     Id. They do not expound on this statement. Nor does it appear that Plaintiffs agreed to belated

     production. See Doc. No. 96-5, at 1 (April 4, 2019 email from Plaintiffs’ counsel to Defendants’

     counsel stating “based on the timestamps on the documents as to when they were generated, it is

     apparent you made no effort to comply with the Court’s order prior to today”).

             The Court’s Discovery Order clearly required production of the documents at issue on or

     before March 28, 2019. Doc. No. 87, at 11. Defendants did not file a motion to extend this

     deadline, and they have not otherwise demonstrated that their untimely production of the documents




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                In a declaration accompanying the response to the motion to compel, Defendant Hemingway states,
     “I realize now that our production in this case was late, and I do apologize to the Court for any inconvenience
     that this may have caused.” Doc. No. 116-1, at 2.


                                                          -6-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 7 of 19 PageID 1927




     at issue was warranted or excused. See Doc. Nos. 116, 122.       Accordingly, the Court agrees with

     Plaintiffs that Defendants have failed to timely comply with the Court’s Discovery Order, which

     makes the imposition of sanctions against Defendants warranted. See Fed. R. Civ. P. 37(b). The

     applicable sanctions will be addressed below.

                    2.     April 4, 2019 Production.

            Plaintiffs’ next argument pertains to the requests for production that sought, in part:

            A list of all of [the defendant’s] customers for the last 2 years, including their name
            and address.

     See Doc. No. 59, at 7–8; Doc. No. 87, at 6–7. The Discovery Order limited the required production

     by Defendants to all responsive documents to this request “with the exception of any non-Florida

     documents.” Doc. No. 87, at 11.

            Plaintiffs contend that while the five pages of documents produced in PDF format by

     Defendants on April 4, 2019 could constitute a list of Defendants’ customers over the last two years,

     the documents are insufficient because they do not contain the customers’ “names and addresses.”

     Doc. No. 96, at 10.

            Defendants’ response on this point appears to be inconsistent. First, Defendants state that

     “PTG does not have such a ‘list’ of PTG’s customers that include their ‘name and address.’” Doc.

     No. 116, at 6 n.11. However, then Defendants state that “each of the produced files does contain

     the name and address of PTG’s Florida-based ‘customer/client.’”          Id.   Thus, it appears that

     Defendants do, in fact, have the names and addresses of their customers.

            The Court has reviewed the exhibit referenced by Plaintiffs, which was filed under seal by

     Plaintiffs (Doc. No. 111), and which was also filed in redacted form by Defendants (Doc. Nos. 116-

     7, 116-8, 116-9). The list contains the name of the customer under a field titled, “Account Name,”

     thus Defendants have partially complied with this document request. However, Plaintiffs are


                                                     -7-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 8 of 19 PageID 1928




     correct that the list does not include the customers’ addresses, other than “Florida.” Accordingly,

     Plaintiffs’ motion on this point is well taken, and Defendants will be ordered, once again, to produce

     documents responsive to the above request. If Defendants dispute that such a client list exists,

     Defendants shall clearly inform Plaintiffs of such in written response to the request.

                    3.      Documents Identifying Location of Timeshare Properties.

             Plaintiffs also sought in their requests for production:

             Documents sufficient to identify the location of the timeshare property of any present
             timeshare client of [the defendant] and any timeshare client that [the defendant]
             provided timeshare services to at any point in the last two years.

     See Doc. No. 59, at 7–8; Doc. No. 87, at 6–7. The Discovery Order limited the required production

     by Defendants to all responsive documents to this request “with the exception of any non-Florida

     documents.” Doc. No. 87, at 11.

             Plaintiffs argue that Defendants produced lists filtered by “Billing State/Province equals

     FL.” Doc. No. 96, at 9–10; see Doc. Nos. 116-7, 116-8, 116-9. Thus, according to Plaintiffs, the

     list of customers produced contain only those who Defendants billed in Florida, not documents

     sufficient to identify Florida-located timeshare interests owned by Defendants’ clients. Doc. No.

     96, at 10.

             It is unclear from Defendants’ response what they are contending as to this particular

     argument. At one point, Defendants state that they do not maintain their files by the location of the

     timeshare property; thus, they state that they would have to produce all 2,465 of their customer files

     in order for Plaintiffs to make this determination. Doc. No. 116, at 7.

             Because Defendants have not identified documents produced that were sufficient to identify

     the location of present timeshare clients of Defendants, or any timeshare clients to whom Defendants

     provided timeshare services in the past two years, with the exception of “non-Florida documents,”



                                                       -8-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 9 of 19 PageID 1929




     Plaintiffs’ contention is well taken. See Walker v. OCalla-J Enters., Inc., No. 6:14-cv-450-Orl-

     31TBS, 2015 WL 12867059, at *2 (M.D. Fla. Jan. 12, 2015) (once the moving party makes a prima

     facie showing of the opposing party’s discovery violation, “the non-moving party must show all

     reasonable efforts were made to comply with the court’s order. The non-moving party cannot prove

     impossibility to comply with the discovery order through mere assertions.”).            Accordingly,

     Defendants will be ordered, once again, to produce documents sufficient to identify the location of

     present timeshare clients of Defendants, or any timeshare clients to whom Defendants provided

     timeshare services in the past two years, with the exception of “non-Florida documents.”

                    4.      Clarification of “Non-Florida Documents.”

            Plaintiffs also argue that Defendants have failed to produce all of the customer files

     Defendants were required to produce pursuant to the Discovery Order. Doc. No. 96, at 11. The

     request for production at issue sought:

            Copies of files for any present timeshare clients of [the defendant] and any clients
            that [the defendant] provided timeshare services to at any point in the last two years.

     See Doc. No. 59, at 7–8; Doc. No. 87, at 6–7.   The Discovery Order limited the required production

     by Defendants to all responsive documents to this request “with the exception of any non-Florida

     documents.” Doc. No. 87, at 11.

            In the response, Defendants first state that the Court’s Discovery Order did not require

     document production related to “non-Florida timeshare clients.” Doc. No. 116, at 7. According

     to Defendants, then, the Court only ordered them to produce files for Florida residents. Id. Thus,

     Defendants contend that Plaintiffs are “not entitled to re-phrase the Court’s language into the very

     different concept of ‘a-client-who-does-not-live-in-Florida-but-owns-a-timeshare-in-Florida.’”

     Id.; see Doc. No. 116-1, at 4 (declaration of Hemingway stating same).




                                                     -9-
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 10 of 19 PageID 1930




             In reply, Plaintiffs dispute Defendants’ classification of the Court’s Discovery Order,

     arguing that it presents a fundamental re-writing of the Order from “non-Florida documents” to

     “non-Florida clients.”

             Because there appears to be a bona fide dispute as to what the Discovery Order required

     Defendants to produce, and what the Discovery Order excepted as far as “non-Florida documents,”

     the Court will take the opportunity to clarify.        Defendants’ specific objection to the request for

     production was to producing “non-Florida documents.” See Doc. No. 87, at 8. Based on that

     objection, the Court ultimately ordered Defendants to produce responsive documents with the

     exception of “non-Florida documents.” Id. at 11. The Court did not sustain an objection to

     production related to “non-Florida clients.” 6 See id. Accordingly, Defendants are required to

     respond to the requests for production as written, with the exception that Defendants shall not be

     required to produce non-Florida documents, which are documents related to their non-Florida

     customers who do not have, or did not have during the relevant period, timeshare interests in Florida.

     Stated differently, Defendants are required to produce customer files and documents related to (1)

     timeshare exit contracts entered into between Defendants and their clients in the state of Florida; as

     well as (2) customers of Defendants who currently have, or had/obtained during the limitations

     period applicable to this case, a timeshare interest in Florida, regardless of the customers’ state of

     residence.7




             6
               To be sure, in the Order, the Court noted that Plaintiffs had not demonstrated “how document
     production of non-Florida timeshare client files, the location of non-Florida timeshare clients, or a list of
     Defendants’ non-Florida timeshare customers are relevant to this case.” Doc. No. 87, at 8. However,
     Defendant had only objected to producing “non-Florida documents,” and that is what the Court held were
     excepted from disclosure. Doc. No. 87, at 11.
             7
               To be even more clear, this means Defendants must produce customer files and documents related
     to timeshare exit contracts they entered into with buyers or sellers who actually resided in Florida during the
     applicable limitations period, as well as documents related to customers who reside, for example, in Montana

                                                         - 10 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 11 of 19 PageID 1931




              Thus, to the extent that Defendants are withholding customer files and other documents

     based on the narrower definition of “non-Florida clients,” Defendants shall produce the documents

     withheld that do not otherwise qualify for the exception of “non-Florida documents,” as detailed

     above.

                     5.       Production of Customer Files.

              Plaintiffs next claim that only 129 out of 196 customer files disclosed to date have been

     produced by Defendants; all of the Florida-resident Wyndham customer files are missing; the files

     were not produced as kept in the ordinary course of business; many of the files were incomplete;

     and the files referred to Defendants Montgomery, Newcomb, and the law firm contain only a single,

     incomplete form. Doc. No. 96, at 11.8

              Defendants respond that they have produced a total of 133 customer files. Doc. No. 116, at

     8. Defendants further argue that they have produced all customer files currently in existence

     because, although each customer immediately receives a client number, a customer file is not yet

     opened until all relevant documents needed to populate such a file are received from the customer.

     Id. 9 They contend that all “relevant” files have been produced. Id. at 11. In his declaration,

     Hemingway avers that they have not withheld any “relevant” files. Doc. No. 116-1, at 3. In




     or Timbuktu, but obtained a timeshare interest in Florida during the applicable limitations period. And
     “timeshare interest in Florida” means that the property is located within the State of Florida.
              8
                Defendants argue that the total number of clients listed on the exhibit is 165, not 196. Doc. No.
     116, at 8. It appears that some of the entries on the list submitted by Plaintiffs (Doc. No. 111, filed under
     seal), which is identical to the list Defendants attached to their response (Doc. Nos. 116-7, 116-8, 116-9)
     identify the same accounts more than once. Nonetheless, the number of files produced is not central to the
     dispute between the parties.
              9
               Defendants also make irrelevant arguments that the dispute over the “missing” files has no
     relevance to the underlying motions to dismiss. Regardless of the pendency of the motions to dismiss,
     discovery in this matter is ongoing, and Plaintiffs’ inquiries need not be limited to the issues being litigated
     in the motions to dismiss.


                                                          - 11 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 12 of 19 PageID 1932




     addition, Defendants state that Donnelly Snellen, Atlas Vacation Remedies, LLC, and CLS, Inc.

     have no files to produce. Id. at 5 n.10.

            To the extent that Defendants are arguing that no additional files exist, the Court will accept

     that statement as true for purposes of this motion. Counsel representing Defendants “are officers

     of this court and subject to sanctions under Federal Rule of Civil Procedure 11 for making a

     representation to the court for an improper purpose . . . .” See Federated Mut. Ins. Co. v. McKinnon

     Motors, LLC, 329 F.3d 805, 808 (11th Cir. 2003) (citing Burns v. Windsor Ins. Co., 31 F.3d 1092,

     1095 (11th Cir. 1994)). However, inasmuch as production of the “relevant” files by PTG excluded

     files relating to “non-Florida clients,” rather than excluding those containing “non-Florida

     documents,” as discussed above, Defendants must produce such files that were not excepted by the

     Discovery Order.

            As to Plaintiffs’ allegation that all Florida-resident Wyndham customer files are missing,

     Defendants dispute this assertion.     Defendants state that they have produced the Wyndham

     customer files. Doc. No. 116, at 9. Again, the Court will accept this statement as true, see

     Federated Mut. Ins. Co., 329 F.3d at 808 (citing Burns, 31 F.3d at 1095), because Plaintiffs have

     failed to demonstrate otherwise. However, as discussed above, if the production by Defendants

     excluded documents pertaining to “non-Florida clients,” rather than “non-Florida documents,”

     Defendants must produce such files that do not qualify for the exception of “non-Florida

     documents,” as described above.

            Regarding Plaintiffs’ contention that the files were not produced in a manner in which they

     are kept in the ordinary course of business, Defendants state that they maintain the records in paper

     format. Thus, Defendants state that they retrieved the paper files and scanned them into electronic

     form. Doc. No. 116, at 9–10; see also Doc. No. 116-1, at 2 (Hemingway declaration stating that



                                                     - 12 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 13 of 19 PageID 1933




     all client files are kept in paper format in Springfield, Missouri, and that he had his staff scan the

     “relevant” documents for electronic transmission and production as a courtesy to Plaintiffs); Doc.

     No. 116-2 (pictures of paper files as discussed in Hemingway’s declaration).

            Plaintiffs’ attempt to undermine Defendants’ assertions that such files exist in other formats

     is unavailing. For example, Plaintiffs point to Hemingway’s deposition testimony that some

     documents are electronically uploaded, but “not every document;” that PTG receives some

     documents electronically and some documents by physical mail; and that PTG has an electronic

     database of clients. Doc. No. 121, at 4. Plaintiffs also state that Defendants use Salesforce, an

     online customer relationship management platform. Id. at 4–5. None of these assertions negate

     Defendants’ contention that customer files are maintained in paper format.

            Regarding Plaintiffs’ contention that the files were incomplete, Defendants assert that the

     files were produced in the manner in which they were kept; thus, if the file contained no

     correspondence when produced, then the file contained no correspondence. Defendants note that

     sometimes clients or potential clients do not return their paperwork to PTG. Doc. No. 116, at 10.

     Again, the Court will accept this statement as true for purposes of this motion. See Federated Mut.

     Ins. Co., 329 F.3d at 808 (citing Burns, 31 F.3d at 1095). The Court cannot compel further

     production of documents that apparently do not exist. See Calhoun v. Volusia Cty., No. 6:04-cv-

     106-Orl-31DAB, 2007 WL 1796259, at *1 (M.D. Fla. June 20, 2007) (“[T]the Court cannot compel

     production of documents that do not exist.”). Plaintiffs have provided no compelling evidence to

     the contrary. However, the Court reminds Defendants of their continuing obligation to supplement

     their discovery responses. See Fed. R. Civ. P. 26(e).

                    6.      Lack of Privilege Log.

            With respect to the files that were referred to Montgomery Law/Montgomery & Newcomb,



                                                     - 13 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 14 of 19 PageID 1934




     Plaintiffs state that most of the files produced only contained a single page, which is a portion of a

     timeshare referral form. Doc. No. 96, at 11. Plaintiffs also contend that Defendants failed to

     produce a privilege log on or before March 28, 2019, as required by the Court’s Order. Id. at 12.

     Thus, Plaintiffs argue that Defendants have waived this privilege, even though, according to

     Plaintiffs, Defendants are attempting to rely on the attorney client privilege to refuse to produce

     complete customer files. Id.

             Defendants dispute that the Montgomery Law files were produced with any documentation

     withheld on the basis of privilege because Defendants state that the files contained no attorney-client

     documents. Doc. No. 116, at 10. In reply, Plaintiffs attempt to counter this representation by

     pointing to an assertion of privilege by Defendant Hemingway as to client referral to Montgomery

     & Newcomb from another lawsuit filed in the Western District of Missouri. See Doc. No. 116-4,

     at 2.

             Plaintiffs’ reliance on this assertion of privilege in a case not pending before this Court is

     unavailing.   Based on Defendants’ representations that the files were produced without any

     documents withheld, and Plaintiffs’ failure to dispute this assertion, Plaintiffs have not established

     that Defendants are in violation of the Court’s Discovery Order on this point. See Walker, 2015

     WL 12867059, at *2 (citation omitted) (“The moving party has the burden to make a prima facie

     showing that the opponent violated a court’s discovery order.”). However, to the extent that

     Defendants did not file a privilege log by the deadline set forth in the Discovery Order, Plaintiffs

     are correct that Defendants have waived any objections based on attorney client privilege to the

     document requests at issue.




                                                     - 14 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 15 of 19 PageID 1935




                    7.      Sanctions for Defendants’ Violation of the Discovery Order.

            The Federal Rules of Civil Procedure provide that if a party or its agent fails to comply with

     a discovery order, the imposition of sanctions may be warranted, up to and including:

            (i)     directing that the matters embraced in the order or other designated facts be
                    taken as established for purposes of the action, as the prevailing party claims;

            (ii)    prohibiting the disobedient party from supporting or opposing designated
                    claims or defenses, or from introducing designated matters in evidence;

            (iii)   striking pleadings in whole or in part;

            (iv)    staying further proceedings until the order is obeyed;

            (v)     dismissing the action or proceeding in whole or in part;

            (vi)    rendering a default judgment against the disobedient party; or

            (vii)   treating as contempt of court the failure to obey any order except an order to
                    submit to a physical or mental examination.

     Fed. R. Civ. P. 37(b)(2)(A). The possible sanctions include, but are not limited to, those listed in

     Rule 37(b).    See Walker, 2015 WL 12867059, at *2. Moreover, in addition to or instead of the

     sanctions listed in Rule 37(b), the Court “must order the disobedient party, the attorney advising

     that party, or both to pay the reasonable expenses, including attorney’s fees, caused by the failure,

     unless the failure was substantially justified or other circumstances make an award of expenses

     unjust.” Fed. R. Civ. P. 37(b)(2)(C).

            In the motion, Plaintiffs ask that the Court sanction Defendants by (1) striking and/or

     denying the pending motions to dismiss; (2) entering an order establishing personal jurisdiction over

     Defendants; and (3) striking the declarations filed in support of the motions to dismiss. Doc. No.

     96, at 16. Plaintiffs also ask that the Court award reasonable expenses and attorney’s fees incurred

     in filing the instant motion. Id.




                                                     - 15 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 16 of 19 PageID 1936




            The Court declines Plaintiffs’ request to impose sanctions related to the motions to dismiss.

     See, e.g., Gen. Produce, Inc. v. Raindrop Produce, Inc., No. 6:11-cv-8-Orl-22GJK, 2011 WL

     13298719, at *2 (M.D. Fla. Sept. 9, 2011) (“[F]or a party who violates a discovery order, an extreme

     sanction requires a showing of a “willful or bad faith failure to obey a discovery order.” (citing

     Malautea v. Suzuki Motor Co., Ltd., 987 F.2d 1536, 1542 (11th Cir. 1993))); see also Walker, 2015

     WL 12867059, at *1 (“Courts have broad discretion to impose sanctions under Rule 37.”). While

     the Court is concerned about Defendants’ failure to comply with its Discovery Order clearly setting

     forth a discovery response deadline, particularly when Defendants have not provided any good cause

     for this delay, the Court does not find that the delay was willful or in bad faith such that the extreme

     sanction of denying a motion to dismiss is warranted.

            However, under Rule 37, the Court “must order the disobedient party, the attorney advising

     that party, or both to pay the reasonable expenses, including attorney’s fees, caused by the failure

     [with court-ordered discovery], unless the failure was substantially justified or other circumstances

     make an award of expenses unjust.” Fed. R. Civ. P. 37(b)(2)(C) (emphasis added). Based on

     Defendants’ failure to timely comply with the Court’s Discovery Order, and Defendants’ failure to

     even belatedly produce all of the documents ordered, as outlined in this Order, the Court has

     concluded that Rule 37 mandates an award of fees in Plaintiffs’ favor. While in a prior Order

     awarding sanctions the Court directed the parties to reach agreement on the amount of fees to be

     awarded to Plaintiffs (Doc. No. 90), the Court finds that the parties have been engaging in extensive

     and costly motions practice, which has already congested this case. Therefore, in an effort to

     expedite at least the instant matter, and because the Court has not granted Plaintiffs all of the relief

     requested in their motion, the Court finds that levying a specific dollar amount as a sanction is

     appropriate. It is therefore ORDERED that Defendants Snellen, Hemingway, PTG, CLS, and



                                                      - 16 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 17 of 19 PageID 1937




     Atlas shall cause to be delivered to counsel for Plaintiffs $2,000.00 to compensate counsel for

     Plaintiffs for the costs and fees incurred in litigating this motion, which amount the undersigned has

     determined is reasonable in these circumstances.

             B.      Defendant PTG’s Motion to Submit Live Testimony Regarding Wyndham’s Third
                     Motion to Compel.

             On June 6, 2019, Defendant PTG filed a Motion to Submit Live Testimony Regarding

     Wyndham’s Third Motion to Compel. Doc. No. 122. In the motion, PTG argues that Plaintiffs

     improperly accused Defendants of perjury in the reply to the response to the motion, and that

     Plaintiffs had improperly raised new arguments in the reply. Id. at 1. Accordingly, Defendant

     PTG requests a hearing to proffer testimony that it contends would demonstrate that: (1) all of PTG’s

     original documents were created in paper format; (2) these paper document originals were kept in

     paper files; and (3) only some of the paper originals were scanned into the computer. Id. The

     motion is due to be denied.10

             First, in substance, this document is a sur-reply to Plaintiffs’ reply. Defendants did not seek

     leave of Court to file a sur-reply. Second, as discussed above, the Court will accept defense

     counsel’s assertion, as an officer of the court, that Defendants maintain files in paper format and

     they have produced all “relevant” 11 files in their possession that exist in paper format.

     Accordingly, a hearing on such contentions is unnecessary.

     III.    CONCLUSION.

             Based on the foregoing, it is ORDERED as follows:


             10
                PTG also makes argument regarding a certain privilege log from another case that has no bearing
     on the issues in the present case and will not be given further consideration. Doc. No. 122, at 1–2.
             11
               As discussed above, what Defendants thought was “relevant” did not include any files related to
     “non-Florida clients.” The only excepted documents in the Discovery Order related to “non-Florida
     documents.” Accordingly, to the extent that Defendants have not produced files that would not be excepted
     as “non-Florida documents,” such files must be produced.


                                                       - 17 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 18 of 19 PageID 1938




           1.    Plaintiffs’ Third Motion to Compel and for Sanctions (Doc. No. 96) is GRANTED

                 in part and DENIED in PART.

           2.    On or before July 16, 2019, Defendants shall produce the documents responsive to

                 Plaintiffs’ request for production as outlined in the Discovery Order and this Order

                 as follows:

                    •   A list of all of Defendants’ customers for the last 2 years, which includes the

                        customer’s name and address;

                    •   Documents sufficient to identify the location of present timeshare clients of

                        Defendants, or any timeshare clients to whom Defendants provided timeshare

                        services in the past two years, with the exception of “non-Florida documents”

                        as defined in this Order; and

                    •   Customer files and associated documents not produced to date, with the

                        exception of “non-Florida documents” relating to clients who do not have, or

                        did not have during the relevant period, a timeshare interest in Florida.

           3.    On or before July 16, 2019, Defendants shall cause to be delivered to counsel for

                 Plaintiffs $2,000.00 to compensate Plaintiffs for the costs and fees incurred in filing

                 the Third Motion to Compel and for Sanctions.

           4.    Defendant PTG’s Motion to Submit Live Testimony Regarding Wyndham’s Third

                 Motion to Compel (Doc. No. 122) is DENIED.

           5.    The Clerk of Court is DIRECTED to terminate the pending Third Motion to Compel

                 and for Sanctions filed under seal (Doc. No. 110).




                                                  - 18 -
Case 6:18-cv-02121-RBD-LHP Document 129 Filed 07/02/19 Page 19 of 19 PageID 1939




            DONE and ORDERED in Orlando, Florida on July 2, 2019.




     Copies furnished to:

     Counsel of Record
     Unrepresented Parties




                                              - 19 -
